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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                   Plaintiff,
       vs.                                         Case No. 00-40104-01/02-RDR

WILLIAM LEONARD PICKARD
and CLYDE APPERSON,

                   Defendants.


                               MEMORANDUM AND ORDER

       This matter is presently before the court upon the following

motions: (1) defendant Pickard’s motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255; (2) defendant

Apperson’s     motion    to    vacate,       set    aside,   or   correct      sentence

pursuant to 28 U.S.C. § 2255; (3) defendants’ motion for leave to

conduct discovery; (4) defendants’ motion to amend and correct

record; (5) defendants’ motion for enlargement of time to delay

ruling to conduct discovery; (6) defendants’ motion to produce

OCDETF proposal; and (7) defendants’ motion for ruling.                          Having

carefully considered the arguments of the parties, the court is

prepared to rule on all of these motions.

       The defendants were originally indicted on November 8, 2000.

They    were   initially       charged       with    conspiracy       to   manufacture,

distribute and dispense 10 grams or more of a mixture or substance

containing a detectable amount of lysergic acid diethylamide (LSD)

in   violation    of    21    U.S.C.     §   846.      An    additional      charge   of
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possession with intent to distribute or dispense 10 grams or more

of a mixture or substance containing a detectable amount of LSD in

violation of 21 U.S.C. § 841(a)(1) was added on January 17, 2001.

     The trial began on January 13, 2003.                  The trial concluded on

March 28, 2003.        The jury returned a verdict on March 31, 2003.

The defendants were found guilty on both charges.                      Prior to the

conclusion of the trial, defendant Pickard sought dismissal based

upon outrageous government conduct and prosecutorial misconduct.

The court denied this motion following a hearing and then issued a

written order on April 4, 2003.                 United States v. Pickard, 278

F.Supp.2d 1205 (D.Kan. 2003).            Both defendants subsequently filed

motions for new trial.       Defendant Pickard also filed a motion for

judgment of acquittal. These motions were denied on July 29, 2003.

United   States   v.    Pickard,     278       F.Supp.2d    1217     (D.Kan.   2003).

Defendant Pickard then filed a motion to dismiss due to unlawful

electronic surveillance.          On November 19, 2003, defendant Pickard

filed    a   “supplement”    to    his   motion      for    new     trial   regarding

outrageous judicial conduct.             The court denied these motions on

November 20, 2003.          Thereafter, the court sentenced defendant

Pickard to life imprisonment on both counts to run concurrently and

defendant Apperson to thirty years imprisonment on each count to

run concurrently. See United States v. Pickard, 298 F.Supp.2d 1140

(D.Kan. 2003); United States v. Apperson, 298 F.Supp.2d 1149

(D.Kan. 2003).


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        Each defendant filed a notice of appeal.            On August 3, 2004,

the defendants filed a motion for new trial based upon juror

misconduct.     The court denied this motion on September 16, 2004.

United     States   v.   Pickard,     2004    WL   3186232       (D.Kan.   2004).

Thereafter, the defendants filed notices of appeal.                    The Tenth

Circuit affirmed this court’s denial of defendants’ motion for new

trial    on   November   8,   2005.    United      States   v.    Apperson,     153

Fed.Appx. 507 (10th Cir. 2005). The Tenth Circuit then affirmed the

defendants’ convictions and sentences on March 28, 2006.                   United

States v. Apperson, 441 F.3d 1162 (10th Cir. 2006), cert. denied,

549 U.S. 1117 (2007) and 549 U.S. 1150 (2007).

        On January 4, 2008, the defendants filed a motion for leave to

file a motion for new trial. The defendants then filed the instant

§ 2255 motions on January 7, 2008.           The court denied the motion for

leave to file a motion for new trial on February 12, 2008.                      The

defendants filed memoranda in support of their § 2255 motions on

May 13, 2008.       The defendants have since filed the additional

motions noted previously.

        The facts of this case as set forth by the Tenth Circuit in

its opinion are as follows:

             In October 2000, Gordon Todd Skinner voluntarily
        contacted the United States Drug Enforcement Agency (DEA)
        and informed them he “wished to cooperate” and provide
        them with “information about an LSD organization.”
        Generally speaking, Skinner told the DEA “that William
        Leonard Pickard and Clyde Apperson were . . . partners”
        in an organization that manufactured LSD and that he,
        Skinner, “had been part of the organization . . . and was

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[at that time] in possession of the laboratory
equipment,” “at a decommissioned missile base near
Wamego, Kansas that he owned.”

     Skinner proceeded to provide the DEA with more
detailed information about the organization and his
involvement. According to Skinner, Pickard and Apperson
first established an LSD laboratory in an Aspen, Colorado
residence in late 1996. Pickard, who had studied
chemistry at Purdue University, served as the chemist.
Apperson was responsible for setting up and dismantling
the necessary laboratory equipment.

     In September 1997, Pickard and Apperson moved the
LSD laboratory from Aspen to a house in Santa Fe, New
Mexico. Apperson assembled the laboratory at that
location and Pickard proceeded to manufacture LSD there
until approximately September 1999. During that time
frame, Pickard obtained many of the chemicals and most of
the necessary glassware from Alfred Savinelli, the owner
of a business in Taos, New Mexico called “Native Scents.”
Pickard paid Savinelli over $300,000 from 1995 to 1999
for his help in obtaining the chemicals and glassware.

     Skinner became involved with Apperson and Pickard in
February 1998. Skinner assisted Pickard in laundering
the cash proceeds of the conspiracy, and also played a
major role in developing the covert communications scheme
utilized by the conspirators. As Pickard's “money man,”
Skinner assisted Pickard “in the transport of money from
the primary distributor to the persons whom . . . Pickard
intended it to go, those being the [precursor chemical]
source and other persons within the organization.”

     In mid to late 1999, Pickard asked Skinner “to
secure a location to house the clandestine [LSD]
laboratory.” Id. Initially, Pickard wanted the location
to be elsewhere in Santa Fe, New Mexico. Pickard
subsequently directed Skinner “to find a location either
in Nevada or Kansas.” In September 1999, Apperson and
Pickard dismantled the Santa Fe LSD laboratory and, in
December 1999, moved it to an abandoned missile base near
Salina, Kansas, where it was maintained by Skinner. In
the fall of 2000, Skinner, apprehensive that the owners
of the base were going to discover the laboratory,
unilaterally decided to move it, along with a precursor
chemical, to the Wamego missile base. In turn, Skinner
was supposed to turn over possession of the laboratory

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and the precursor chemical to Apperson and Pickard.

     After corroborating much of the information provided
by Skinner, the DEA initiated an undercover operation
with Skinner on October 19, 2000. At the outset of this
undercover operation, the DEA recorded various phone
calls between Skinner and Pickard. On October 23, 2000,
at the DEA's request, Skinner met Pickard in a hotel room
in Marin County, California. During the meeting, which
was videotaped by the DEA, Pickard and Skinner discussed
the LSD laboratory and the idea of moving it from its
Wamego location. Pickard advised Skinner that he wanted
Apperson to take possession of the laboratory equipment.

     On October 27, 2000, Skinner gave DEA agents a tour
of the Wamego missile base. During the tour, DEA agents
observed “the contents of a non-operational LSD
laboratory packed in approximately [forty-five] large,
green shipping containers.” The DEA agents subsequently
obtained and executed a search warrant for the base.
Among the items seized during the search were 6.5
kilograms of a substance determined to be ergocristine,
a substance used in the manufacture of LSD.

     Following the search, DEA agents continued to
monitor phone conversations between Skinner and Pickard.
Pickard eventually told Skinner that he was coming to see
the Wamego laboratory and to make sure that the
ergocristine was secure. On November 2, 2000, Pickard
and Apperson flew to Tulsa, Oklahoma. On November 4,
2000, Pickard and Apperson drove to Wamego in a rental
car and met Skinner near the missile base.

      During the meeting on November 4, 2000, Pickard and
Apperson expressed to Skinner their concern about storing
the laboratory equipment at the Wamego missile base.
Pickard and Apperson also expressed concern about their
own safety if the laboratory equipment and ergocristine
were not returned to them. Ultimately, Pickard and
Apperson began making plans to move the laboratory
equipment and ergocristine out of the Wamego missile
base.

     That same day (November 4, 2000), Pickard and
Apperson rented a truck in Topeka, Kansas and listed a
return destination for the truck as Albuquerque, New
Mexico. The pair then drove the truck to the Wamego
missile base and began loading it with lab equipment. On

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     November 6, 2000, the ergocristine was returned by the
     DEA to the base, unbeknown to Pickard and Apperson. That
     same day, Skinner informed Pickard and Apperson where the
     ergocristine was located on the base. Pickard retrieved
     the ergocristine and left the base with it in the rental
     car.   Apperson also left the base driving the rental
     truck loaded with lab equipment.

          As Pickard and Apperson left the base, Kansas
     Highway Patrol (KHP) officers, acting at the request of
     the DEA, attempted to stop the rental car and truck.
     Pickard and Apperson, however, refused to stop and
     instead increased their speed. Eventually, the KHP
     officers forced Pickard and Apperson to stop by pulling
     in front of the rental truck driven by Apperson.
     Apperson was removed from the truck and taken into
     custody. Pickard fled from the scene on foot after
     letting the rental car roll to a stop in a ditch.
     Pickard was arrested the following day. The ergocristine
     was found in the rental car that Pickard had been
     driving. Also found in the rental car was a recipe for
     the manufacture of LSD and notes regarding what appeared
     to be past production quantities.

           The DEA obtained search warrants for the missile
     base, which they executed on November 17 and 22, 2000.
     The execution of the warrants took several days due to
     the volume of materials and the danger posed by the
     chemical substances. During the searches, the DEA found
     numerous items and equipment associated with an LSD
     laboratory, as well as various chemical substances,
     including 41.3 kilograms of LSD, 97.5 kilograms of
     lysergic acid, and 23.6 kilograms of iso-lysergic acid.
     The DEA also tested a large patch of dead grass found
     outside one of the buildings on the base. The soil
     samples tested positive for LSD, iso-LSD, and lysergic
     acid.

Apperson, 441 F.3d at 1175-77 (citations and footnote omitted).

MOTIONS TO VACATE, SET ASIDE OR CORRECT SENTENCES

     In the § 2255 motions, the defendants both raise the following

claims:   (1) the government violated their right to a speedy trial

under the Speedy Trial Act; (2) the government violated its


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Brady/Giglio obligations by suppressing the criminal and informant

backgrounds of certain witnesses, including Gordon Todd Skinner;

(3) the government engaged in prosecutorial misconduct by failing

to disclose exculpatory evidence and by altering certain exhibits;

(4) the evidence was insufficient to support their convictions; and

(5) their sentences were illegal for several reasons.                  Pickard

raises these additional claims:          (1) the government violated his

expectation of privacy in entering the premises at Wamego without

a search warrant; (2) the district court erred in granting the

government’s motion in limine concerning Skinner; and (3) the

district court erred in refusing to allow certain defense witnesses

to testify and in refusing to grant immunity to proposed defense

witnesses.    Apperson also contends that the court erred in denying

his motion to sever.

     A federal prisoner may only obtain relief under § 2255 if his

sentence (1) was imposed in violation of the Constitution or

federal laws, (2) was imposed by a court without jurisdiction to do

so, (3) was in excess of the maximum permitted by the law, or (4)

is otherwise subject to attack.          28 U.S.C. § 2255.       In order to

obtain relief under § 2255 on the basis of constitutional error,

the petitioner must establish an error of constitutional magnitude

which had a substantial and injurious effect or influence on the

verdict.     Brecht v. Abrahamson, 507 U.S. 619, 637-38 (1993).              In

order to obtain relief on the basis of nonconstitutional error, the


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petitioner must show a fundamental defect in the proceedings

resulting in a complete miscarriage of justice or an error so

egregious that it amounted to a violation of due process.                Reed v.

Farley, 512 U.S. 339, 353-354 (1994).           If a court finds a claim

under § 2255 to be valid, the court “shall vacate and set the

judgment aside and shall discharge the prisoner or resentence him

or grant a new trial or correct the sentence as may appear

appropriate.”     28 U.S.C. § 2255.

      An evidentiary hearing must be held on a § 2255 motion “unless

the motion and files and records of the case conclusively show that

the prisoner is entitled to no relief.”          28 U.S.C. § 2255; United

States v. Galloway, 56 F.3d 1239, 1240 n. 1 (10th Cir. 1995); see

also Schriro v. Landrigan, 127 S.Ct. 1933, 1940 (2007) (“It follows

that if the record refutes the applicant’s factual allegations or

otherwise precludes habeas relief, a district court is not required

to   hold   an   evidentiary   hearing.”).       To   be      entitled    to   an

evidentiary hearing, the defendant must allege facts which, if

proven, would entitle him to relief.          See Hatch v. Oklahoma, 58

F.3d 1447, 1471 (10th Cir. 1995), cert. denied, 517 U.S. 1235

(1996).     “[T]he allegations must be specific and particularized,

not general or conclusory.”     Id.   The court finds that a hearing on

the defendants’ motions is not necessary. The court finds, for the

reasons stated in this opinion, that the materials already in the

record conclusively show that the defendants are not entitled to


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relief on any of their claims.

Brady/Giglio

       The court shall turn immediately to the defendants’ claim

that    the    government   violated     its   Brady/Giglio       obligations      by

suppressing the criminal and informant backgrounds of certain

witnesses,      including      Gordon   Todd   Skinner.      There      is   little

question, based upon the depth and degree of their arguments, that

this is the centerpiece of their § 2255 motions.                   The defendants

assert that the government suppressed records involving Skinner’s

informant activity and criminal activity in at least 21 cases.

They further contend that the government suppressed numerous state

and federal investigations of Skinner during the period from 1997

to 2003.        The defendants further allege that the government

suppressed (1) an ongoing relationship with Skinner prior to trial;

(2) multiple deactivations for cause and blacklisting of Skinner;

(3) Skinner’s DEA “confidential informant assessment”; (4) the

$1,000,000 in benefits to Skinner retained in violation of federal

law; (5) reports prior to sentencing showing an investigation of

Skinner’s clandestine LSD/MDMA laboratory in Tulsa, Oklahoma; (6)

reports       showing   Skinner’s       continuing   drug        manufacture      and

distribution during trial; and (7) investigative records and prior

convictions of witnesses Savinelli and Guinan.

       The Fifth Amendment provides no person shall be deprived of

liberty without due process.            U.S. Const. amend. V.         In Brady v.


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Maryland, 373 U.S. 83, 87 (1963), the Supreme Court held the

government’s suppression of evidence favorable to the accused

violates due process where the evidence is material to guilt or

punishment.     In Giglio v. United States, 405 U.S. 150, 154 (1972),

the Supreme Court extended Brady to require the government to

disclose impeachment evidence as well as exculpatory evidence.                       To

establish a Brady violation, a habeas petitioner must demonstrate:

(1) the evidence at issue is favorable to him because it is

exculpatory    or   impeaching;    (2)       the    government       suppressed      the

evidence; and (3) prejudice ensued from the suppression, i.e., the

suppressed evidence was material to guilt or punishment. Strickler

v. Greene, 527 U.S. 263, 281-82 (1999).

      Impeachment evidence must be material before its suppression

justifies a new trial.        Wood v. Bartholomew, 516 U.S. 1, 5 (1995)

(per curiam).       Evidence is material if there is a reasonable

probability its disclosure would have produced a different outcome.

See   United   States   v.    Bagley,    473       U.S.   667,      682   (1985).      A

“reasonable probability” of a different result is shown when the

government’s failure to disclose evidence “undermines confidence in

the outcome of the trial.”          Id. at 678.            “The question is not

whether the defendant would more likely than not have received a

different verdict with the evidence, but whether in its absence he

received a fair trial, understood as a trial resulting in a verdict

worthy of confidence.” Kyles v. Whitley, 514 U.S. 419, 434 (1995).


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The court must evaluate the strength of the impeachment evidence

and the effect of its suppression in the context of the entire

record to determine its materiality.           Bagley, 473 U.S. at 683.

      The government’s suppression of impeachment evidence can

warrant a new trial “where the evidence is highly impeaching or

when the witness’ testimony is uncorroborated and essential to the

conviction.”    United States v. Martinez-Medina, 279 F.3d 105, 126

(1st Cir.), cert. denied, 536 U.S. 932 (2002).              The Supreme Court

has found Brady violations where the government failed to disclose

impeachment evidence that could have been used to impugn the

credibility of the government’s “key witness,” see Giglio, 405 U.S.

at   154-55,   or   that     could   have    “significantly      weakened”      key

eyewitness testimony. Kyles, 514 U.S. at 441. Suppressed evidence

is immaterial under Brady, however, if the evidence is cumulative

or impeaches on a collateral issue.             United States v. Page, 808

F.2d 723, 730 (10th Cir.), cert. denied, 482 U.S. 918 (1987).

Suppressed     impeachment      evidence,     if    cumulative      of   similar

impeachment evidence used at trial (or available to the petitioner

but not used) is superfluous and therefore has little, if any,

probative value.     United States v. Boyd, 55 F.3d 239, 246 (7th Cir.

1995).    Similarly, suppressed impeachment evidence has little

probative value if additional evidence strongly corroborates the

witness’s testimony the suppressed evidence might have impeached.

See Strickler, 527 U.S. at 292-94.


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Skinner

     As noted above, the majority of this claim is directed at

evidence   that   was   purportedly       suppressed    by    the   government

concerning Skinner.         The defendants have suggested that this

material consists of both impeachment and exculpatory evidence.

     The background of this case is indeed unusual.              This history

leads the court to carefully consider this claim.             The defendants

have called Skinner “the star government witness” and indicated

that the Tenth Circuit stated in its opinion affirming their

convictions that “it was the testimony of Skinner that resulted in

[their] convictions.”        The court believes the defendants have

misread the Tenth Circuit’s decision and misunderstood the evidence

that was presented at trial.      In considering Pickard’s argument on

appeal that this court erred in denying his motion for judgment of

acquittal, the Tenth Circuit stated:

     After reviewing the record on appeal, we conclude, as did
     the district court in denying Pickard’s motions, that the
     evidence of Pickard’s guilt on both charges was
     overwhelming.    Without recounting that evidence in
     detail, we note that the testimony of Skinner, combined
     with the substantial physical evidence, was more than
     ample to support the convictions. Although Pickard
     strenuously attacks the veracity of Skinner's testimony,
     the jury was clearly entitled to, and indeed did, find
     Skinner to be a credible witness.           Moreover, as
     previously discussed, there was little, if any, evidence
     to support Pickard’s own testimony, and the verdicts
     indicate that the jury reasonably rejected that testimony
     as incredible. Thus, we conclude the district court
     properly denied Pickard’s motion for judgment of
     acquittal.

Apperson, 441 F.3d at 1209-1210.

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       The Tenth Circuit was only noting that Skinner’s testimony,

along with other evidence, supported the verdicts.                    The Court

further noted that the jury did find Skinner to be a credible

witness.      Finally, the Court found that the verdict also indicated

that    the    jury    “reasonably     rejected”   Pickard’s       testimony    as

“incredible.”         The Tenth Circuit made no observation that the

charges against the defendants rose or fell upon the testimony of

Skinner.       Thus, defendants’ suggestion that the Tenth Circuit

indicated that Skinner’s testimony resulted in their convictions is

fatuous.      This was not a case where the convictions were tied to

the testimony of only one man. Rather, the evidence offered by the

government corroborated and supported the key testimony offered by

Skinner.

       The    defendants       have    consistently    overstated      Skinner’s

importance to the verdicts in this case.                 He was no doubt an

important witness, but his significance lay in the fact that he

initiated the investigation against the defendants.                 He provided

law     enforcement     with     the   opportunity     to   gain    substantial

information about the defendants prior to initiating the charges.

The charges against the defendants were prompted when Skinner

appeared with counsel, a former assistant United States attorney,

at the Department of Justice and indicated that he was a part of a

large conspiracy to manufacture LSD. Skinner stated he was fearful

for his life because the defendants had discussed the killing of an


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individual after he provided information about the conspiracy. The

DEA had immediate concerns about Skinner because he had a past

criminal history, was a past drug user, and was an admitted party

to a large LSD operation.            Nevertheless, the DEA determined that

the “potential benefit to [it] and the public interest outweighs

the negative risks associated with [him].”                    The DEA, however, was

obviously    concerned       with    Skinner’s        credibility     and    thus     made

considerable efforts during the course of the investigation to

corroborate his information. Skinner had come to the DEA while the

conspiracy continued to exist.             Thus, the DEA was presented with

the    opportunity      to     corroborate        Skinner’s         story    and      gain

considerable information on the other conspirators, the defendants.

The DEA did so through the use of audio and video recordings.                          The

DEA   also   conducted       surveillance        of    some    of   the     defendants’

activities.       Documents         and   other   materials         were    found     that

corroborated     much    of    Skinner’s        information.         Finally,       other

witnesses were found to support Skinner’s statements. The ultimate

result    was   that     the    evidence        against       the    defendants        was

overwhelming.

      The government was very cognizant of their obligations under

Brady and Giglio concerning Skinner prior to trial.                         It provided

the court with Skinner’s DEA confidential informant file (CI file)

and his DEA risk assessment file(RA file) for in camera review. In

addition, the government provided a wealth of materials to the


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defendants concerning Skinner.       It filed a motion in limine to

restrict the use of some of these matters at trial.            In response,

defendant Pickard noted a number of other impeachment matters that

he would seek to introduce during the cross-examination of Skinner.

The court granted the government’s motion in part and denied it in

part.    The court did not address the matters raised by Pickard and

determined that they would be considered during the course of the

trial.     The court ultimately considered most of these matters

during the trial, and ultimately allowed the defendants to cross-

examine Skinner on most of them.

        The court reviewed the CI and RA files to determine if any

additional Brady material was present.          The court found nothing

other than what the government had provided to the defendants.

Eventually, the court ordered the government to provide the RA file

to the defendants and, contrary to the argument of the defendants

raised in the instant motions, this file was provided to the

defendants during trial.      The court has again reviewed the files

and determined that no Brady materials were overlooked by the

government.

        In addition, the government, in an attempt to counter some of

the arguments raised by the defendants concerning the suppression

of evidence, voluntarily provided the court with the FBI files

concerning Skinner for in camera review. These files were provided

only recently.      The records provide the following information


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concerning the efforts of the government to obtain information from

the FBI on the past informant activities of Skinner:

          In 2003, individuals identified as William Leonard
     Pickard and Clyde Apperson were prosecuted on drug
     related charges in the U.S. District of Kansas.        At
     trial, an individual identified as Gordon Todd Skinner .
     . . testified on behalf of the government. During the
     course of the proceedings in this matter, AUSA Greg Hough
     requested [an FBI agent] determine whether Skinner had
     ever been used as an informant by the FBI. [The named
     FBI agent] in turn requested a records check be conducted
     by the informant coordinator for the FBI Kansas City
     Division Office.     The check revealed no record of
     Skinner, however, due to a misunderstanding regarding the
     request, informant records were only checked for the
     Kansas City Division and not Bureau-wide.
          In February 2009, AUSA Hough made another request to
     determine whether Skinner had worked as an informant for
     the FBI. This request stemmed from information received
     by AUSA Hough that Skinner had been an FBI informant,
     possibly in San Antonio, Las Vegas, Phoenix, Denver,
     Miami, San Francisco, Albuquerque, Seattle, Kansas City,
     or Boston.

     The FBI file reveals only that Skinner served as informant for

the Oklahoma City FBI office.       He was opened as an informant on

June 8, 1984 and closed due to lack of production on June 4, 1985.

The file further reveals that Skinner’s actions as an informant

during this period failed to provide “any information pertinent to

law enforcement responsibilities.”

     Skinner was extensively cross-examined during the trial.               The

cross-examination lasted over four days.        Was Skinner a liar?         Was

Skinner a cheat?     Was Skinner a fraud?         The evidence certainly

indicated that the answer to those questions was yes, yes and yes.

During the cross-examination, Skinner admitted, inter alia, that he


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had (1) used a variety of drugs, both legal and illegal; (2)

provided      illegal   drugs    to    others   since   the      age    of    15;   (3)

manufactured      mescaline;     (4)    impersonated      others        on    numerous

occasions; (5) laundered money; (6) stolen property; (7) violated

laws while on pretrial release; (8) previously served as an

informant; (9) engaged in fraudulent activities; and (10) lied to

others, including to the DEA in this case and to judges.                            He

admitted a willingness to lie to stay out of trouble and out of

jail.    To say that Skinner’s credibility was challenged would be a

gross understatement.

        The   government    acknowledged        the   problems         with    Skinner

repeatedly in their arguments and in the evidence they offered.

The government made that clear in their opening statement:

             The agents involved in this case knew then and know
        now that Mr. Skinner had considerable baggage and you’ll
        hear about a ton of that. Criminal arrests, criminal
        convictions.   He has criminal charges pending now in
        Wamego over the theft of some stereo speakers or alleged
        theft, been involved in civil lawsuits. Lots of baggage,
        lots of words. The evidence will show you that as they
        commenced their dealings with Mr. Skinner the agents knew
        that he was just the type of a guy that you would expect
        to be involved in a criminal enterprise, so that was no
        surprise.
                       .     .    .    .    .

              Knowing Mr. Skinner’s baggage, DEA agents went about
        great extremes in attempts to corroborate what Mr.
        Skinner was telling them. You’ll see and hear exactly
        how this was done. And you’ll see that the DEA did not
        blindly follow where Mr. Skinner led them, but instead
        they did everything that they could to back up what he
        said.
                        .     .    .    .    .


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          During [Skinner’s] testimony there will be a lot of
     peripheral matters, but his testimony about this LSD lab,
     we submit, will be corroborated by a whole bunch of other
     evidence in the form of witnesses’ testimony and
     exhibits. The evidence will show you the case is not
     just about Mr. Skinner’s testimony and you don’t have to
     believe him alone. In fact, if Mr. Skinner tells you
     something that doesn’t sound right and it’s not
     independently corroborated, disregard it because that
     doesn’t affect his testimony on the LSD, it will be
     solid. You’ll see in spite of Mr. Skinner’s warts that
     he’ll tell you the truth about the LSD.

     During closing argument, the government reiterated Skinner’s

past problems as well as the corroboration of his testimony:

     As promised, Mr. Skinner told you about his many, many
     warts; drug use, criminal activities. But, you know, in
     spite of all of those warts, everything that Mr. Skinner
     has told you – if you look at the evidence, everything
     Skinner told you about these men, about their lab, about
     their LSD, is corroborated. You don’t have to believe
     Skinner standing alone.     The physical evidence, the
     testimony of the other witnesses, absolutely corroborate
     what Skinner says.
                    .     .    .    .    .

     You don’t have to like Gordon Todd Skinner. You don’t
     have to like the things that he’s done in his lifetime.
     In fact, I would encourage you not to like a lot of the
     things that Mr. Skinner has done in his lifetime.
          But recognize, ladies and gentlemen, you’re not
     being asked to go on a hayrack ride with Gordon Todd
     Skinner, you’re not being asked to believe what this man
     says in a vacuum. You’re being asked to consider all of
     the evidence in this case.
                    .    .    .    .     .

          But remember as you consider the evidence,
     everything Mr. Skinner said has been corroborated. And
     if you find anything Skinner says about these Defendants,
     this LSD lab, this ET that is not corroborated, throw
     that portion of the testimony out.

     The various arguments made by the government as well as the

evidence offered at trial made Skinner’s credibility problems

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readily evident.     These problems were certainly well understood by

the jury.

     With this background, the court turns to the several issues

that must be considered.       First, we must determine how much of the

knowledge possessed by various agencies of the federal government

should be imputed to the prosecution.           Courts have adopted various

standards on when knowledge by an agency will be imputed to the

prosecution.       See Smith v. Secretary of New Mexico Dept. of

Corrections, 50 F.3d 801, 825 n. 36 (10th Cir.), cert. denied, 516

U.S. 905 (1995).        The Tenth Circuit has determined that the

“prosecution” for Brady purposes includes “not only the prosecutors

handling the case, but also extends to law enforcement personnel

and governmental entities involved in investigative aspects of a

particular criminal venture.”        United States v. LaVallee, 439 F.3d

670, 698 n. 19 (10th Cir. 2006) (citing Smith, 50 F.3d at 824).                  In

this case, the governmental entity that handled the investigation

was the DEA.   Although other entities may have assisted in various

facets of the investigation, the primary investigation was handled

by the DEA.        Thus, the court agrees with the government that

requests    made   to   the   DEA   were     sufficient     to    satisfy    their

obligations under Brady and Giglio concerning Skinner’s status as

a past confidential informant.         The court does not find that the

government had any obligation to seek out any Brady or Giglio

materials from the FBI on Skinner. However, to the extent that the


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government has now provided this information, the record fails to

support the allegations made by the defendants in their motions.

        Second, the court must note another unusual aspect of this

case.     During trial, after Skinner’s testimony in the government’s

case, he began assisting the defendants.            This surprising event

must also be considered in addressing the instant motion.              Skinner

was available to the defendants during the trial and provided

assistance to them.      Skinner continued to assist the defendants

following the completion of the trial.          He has written letters to

counsel for the defendants and provided additional information.

Thus, the defendants’ access to Skinner at trial allowed them to

develop much of the information that they now claim was suppressed

by the government.      See, e.g., Spirko v. Mitchell, 368 F.3d 603,

611 (6th Cir. 2004) (no Brady violation despite failure to produce

evidence of defendant’s alleged accomplice’s alibi because evidence

was available to defense from other sources and defense was aware

of essential facts necessary to obtain evidence), cert. denied, 544

U.S. 948 (2005).

        The aforementioned discussion reveals the following concerning

the defendants’ contention that the government suppressed evidence

of Skinner’s criminal and informant activities: (1) Skinner was

exhaustively     cross-examined     about   a   variety      of   matters     that

questioned his credibility; (2) the jury fully understood the

issues     concerning   Skinner’s    credibility;     (3)     the   government


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presented substantial evidence corroborating the testimony provided

by Skinner; (4) the government produced overwhelming evidence of

the defendants’ guilt; (5) the defendants had access to Skinner

during   the    trial    which    allowed    them   to    obtain   much   of    the

information that they now contend was suppressed; and (6) the

government provided the defendants with all relevant Brady/Gigio

material in the possession of the DEA prior to trial.                       These

conclusions      support    a    finding     that   the    suppressed     matters

concerning Skinner’s criminal and informant activities are not

material.      There is no reasonable probability that the disclosure

of this material would have produced a different outcome.                 Most of

the evidence noted by the defendants would simply have been

cumulative to the other evidence that was offered to impeach

Skinner’s testimony.       The overwhelming evidence that was presented

also demonstrated that this evidence would not have produced

another result.         In sum, the court finds that the defendants

received a fair trial.

     The court now turns to the other specific arguments made by

the defendants.         The court shall first examine the defendants’

contention that the government suppressed exculpatory evidence.

The defendants argue that the DEA suppressed reports of Skinner’s

clandestine drug laboratory and trafficking during their trial.

     The court has carefully examined the evidence offered by the

defendants in support of this claim.           They rely upon reports where


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certain individuals provided information to the DEA in July 2003.

In those reports, the sources of information suggested that Skinner

had an MDMA and LSD laboratory in Tulsa, Oklahoma.                They further

indicated that he had been selling pills and marijuana in Arizona

and Washington during 2002 and 2003.             The government does not

dispute that these reports exist.          They argue only that the “DEA

determined [the] information in this matter regarding Skinner [was]

self-serving and not credible.”

     The court believes that this evidence would certainly have

constituted impeachment evidence, but it in no way rises to the

level of exculpatory evidence.       Exculpatory evidence is defined as

evidence that is material to the issue of guilt or innocence.

Bagley,   473   U.S.   at   676.   The    defendants    were     charged       with

conspiracy to manufacture, distribute and dispense LSD for the

period from August 1999 through November 6, 2000.              The court is at

a loss how Skinner’s manufacture and sale of MDMA or marijuana or

LSD during 2002 and 2003 could have exculpated the defendants from

the charges they were facing.

     The court does believe that this information should have been

provided to defense counsel.        The prosecution’s Brady obligation

continues throughout the trial and even after the verdict is

rendered.   Leka v. Portuondo, 257 F.3d 89, 103 (2nd Cir. 2001); see

also Imbler v. Pachtman, 424 U.S. 409, 427 n. 25 (1976).               However,

as noted above, the court is ultimately not persuaded that this


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information was material, particularly in light of the other

impeachment evidence that was presented.

       The defendants have repeatedly suggested that the government

suppressed evidence that Skinner was permitted to retain over

$1,000,000 in laundered funds and assets in violation of federal

law.     They suggest this fact makes this case similar to Bagley

where the government suppressed information that an informant was

paid $300 for his testimony.

       Frankly, this argument is simply frivolous.                The evidence

offered by the defendants to support this claim consists of

materials provided by the government to them prior to trial. Thus,

any suggestion that the government “suppressed” this information is

wholly without merit.          The defendants were well aware that this

issue existed prior to trial and could have raised it at any time,

but failed to do so.

       The defendants have also argued that the government suppressed

information of an ongoing relationship between the government and

Skinner prior to trial.           This “ongoing” relationship was the

subject of extensive cross-examination of Skinner and DEA agent

Nichols by Pickard’s counsel.         The court fails to find any support

for any improper relationship that existed between Skinner and the

government that was “suppressed” by the government.

       Finally, the defendants have suggested that the government

suppressed information that Skinner was deactivated and blacklisted


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as a confidential informant by various agencies.                    Again, the court

finds inadequate support for this suggestion.

      Even if we found support for any of the aforementioned

contentions, we would conclude that the suppressed matters were not

material.     We reach this decision for a variety of reasons, but

primarily     because     the   evidence     noted      by    the    defendants      is

essentially     impeachment      evidence,     and   the      evidence      presented

against the defendants at trial was overwhelming.                    The suppressed

evidence would have added little to the jury’s view of Skinner.

The   jury    fully     understood     the     issues    concerning         Skinner’s

credibility.       The alleged suppressed evidence would not have

resulted in the reasonable probability of a different outcome at

trial and does not undermine the confidence of the court in the

verdict.     Thus, we find that the defendants’ Brady/Giglio claim

concerning Skinner lacks materiality and must be denied.

Savinelli and Guinan

      The    defendants    have    also    suggested         that   the   government

suppressed investigative records and prior convictions of witnesses

Savinelli and Guinan.            The government has responded that it

provided the NCIC criminal records of both of these witnesses.

      The defendants have acknowledged they have no information

concerning any evidence withheld by the government on Savinelli.

They have only suggested they will supplement this contention at a

later date.     The defendants have offered no supplementation.


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     The court has reviewed the exhibits filed by the defendants in

support    of    their   contention   that    the   government      suppressed

investigative      reports   and   prior   convictions    of    Guinan.        The

exhibits filed by the defendants fail to support their contention.

They fail to demonstrate that the government or the DEA had access

to any Brady material concerning Guinan and failed to provide it to

defense counsel.         The first exhibit is a DEA report with a

reference to Guinan and a NADDIS number.            The second report is a

record from the Oklahoma Bureau of Investigation showing Guinan’s

arrest for possession of dangerous drugs in 1994.                    The final

exhibit is a document from the District Court in and for Tulsa

County, Oklahoma showing two misdemeanor convictions for Guinan for

unlawful possession of marijuana in 1996.            The exhibits filed by

the defendants fail to support their contention.                 They fail to

demonstrate that the government or the DEA had access to any Brady

material concerning Guinan and failed to provide it to defense

counsel.        “While Brady requires the government to tender the

defense all exculpatory evidence in its possession, it establishes

no obligation on the government to seek out such evidence.” United

States v. Walker, 559 F.2d 365, 373 (5th Cir. 1977); see also United

States v. Beaver, 524 F.2d 963, 966 (5th Cir. 1975) (“But Brady

clearly does not impose an affirmative duty upon the government to

take action to discover information which it does not possess.”),

cert. denied, 425 U.S. 905 (1976); United States v. Atkinson, 512


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F.2d 1235, 1239 (4th Cir. 1975) (government prosecutor has no duty

to   disclose   information       to   the    defense   as      to     the   criminal

background of a prosecution witness where it is not even charged

that government attorneys were in possession of the information).

The court is persuaded here that the disclosure of Guinan’s NCIC

record fully complied with Brady concerning the requirements of his

criminal history.      United States v. Luis-Gonzalez, 719 F.2d 1539,

1548-49 (11th Cir. 1983).

Speedy Trial Act

      Defendants argue that their rights to a speedy trial under the

Speedy Trial Act(STA) were violated. The defendants assert various

reasons why the district court and Tenth Circuit on appeal erred in

determining that their rights under the STA had not been violated.

Specifically,       defendants    suggest     that   the     delays       caused     by

continuances requested by the government on March 23, 2001 and

April 26, 2001 should not have been excludable under the STA.

      The   Tenth    Circuit     thoroughly    considered       the      defendants’

arguments on appeal concerning the Speedy Trial Act. See Apperson,

441 F.3d at 1177-84.           The arguments raised here appear to be

nothing more than a rehash of the contentions raised on direct

appeal.

      This argument must be rejected for two reasons.                    First, this

issue was decided on appeal.           As specifically noted by the Tenth

Circuit:    “It is beyond dispute that all of the time from December


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12, 2000, through at least November 5, 2001, was excludable.”

Apperson, 441 F.3d at 1182.             A § 2255 motion cannot be used to

relitigate issues raised and addressed on direct appeal, absent an

intervening change of law.            United States v. Warner, 23 F.3d 287,

291   (10th   Cir.   1994).       Petitioners        have     failed      to    note   any

intervening change of law.            Second, petitioners do not claim that

the   alleged    violation      of    the    STA     rises    to    the    level   of    a

constitutional violation.            A claim of legal error, as opposed to

constitutional       or    jurisdictional        error,    is   not    cognizable       in

section 2255 proceedings unless the error constitutes a fundamental

defect in the trial resulting in a complete miscarriage of justice.

United States v. Addonizio, 442 U.S. 178, 185 (1979).                      A violation

of the STA, even if present (a proposition for which the court

finds   no    support),      would    not    serve    as     grounds      for   granting

petitioners’ motion.         Again, there is no evidence that petitioners

were prejudiced by the delay between the day they were indicted and

the day they were tried.

Fourth Amendment

      Pickard    contends      that    his       Fourth    Amendment      rights       were

violated when the missile base premises were searched without a

search warrant.           He argues that this issue was “only partially

addressed” in his direct appeal. He suggests that it was not fully

and fairly litigated on appeal.             He asserts that the Tenth Circuit

incorrectly concluded that there was no evidence suggesting that he


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“stayed at the site or otherwise had some sort of possessory

interest in the site.”

     Fourth Amendment violations are not reviewable in a § 2255

motion   when    the   federal   prisoner    has     had    a   full     and    fair

opportunity to litigate the Fourth Amendment claim at trial and

present issues on direct appeal.          United States v. Cook, 997 F.2d

1312, 1317 (10th Cir. 1993). A review of the record and the opinion

issued by the Tenth Circuit denying Pickard’s direct appeal clearly

demonstrates that Pickard did have a full and fair opportunity to

litigate this issue at trial and on appeal. See Apperson, 441 F.3d

at 1185-87.      Consequently, this court cannot review this Fourth

Amendment claim.

Confrontation Clause

     Pickard contends that the district court violated his right to

confront witnesses when it granted the government’s motion in

limine concerning certain matters involving Skinner’s background.

Pickard suggests that the court’s ruling would have been different

if the court had been aware of the many matters involving Skinner’s

past that have been discovered since the trial. He further asserts

that his motion in limine argument was not fully and fairly

litigated on direct appeal because of the page limitations imposed

by the Tenth Circuit.

     Once again, this issue is barred from review because it was

raised   and    addressed   on   direct    appeal.         There   has    been   no


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intervening      change    in    the   law    on    the    issues      raised      by   the

government’s      motion    in    limine      and    there    has      been   no    newly

discovered evidence offered by Pickard on these matters. The “new”

matters noted by Pickard in other claims involve other activities

by Skinner, not those that the court considered in the motion in

limine.      The court is not persuaded that knowledge of the other

matters noted by Pickard would have influenced the court’s decision

on the specific matters raised in the government’s motion in

limine.      In fact, it is quite apparent to the court that many of

the matters noted by Pickard concerning Skinner’s background that

the court was unaware of at the time of trial would have been

subject to the same rulings that the court made in ruling on the

government’s motion in limine.

       The suggestion that this issue was not fully considered on

appeal is ludicrous.           This is another issue that was exhaustively

discussed and considered by the Tenth Circuit.                       See Apperson, 441

F.3d    at   1194-97.      Pickard      has     been      unable      to   specifically

demonstrate how the page limitations imposed by the Tenth Circuit

precluded his ability to fairly address this issue on appeal.

       Accordingly, the court finds this claim barred from review for

the aforementioned reasons.            To the extent that Pickard raises any

issue that was not raised and addressed on direct appeal, the court

finds that it lacks merit.

Refusal to Allow Certain Witnesses to Testify and Refusal to Grant
Immunity to Certain Witnesses

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     Pickard contends that his rights to due process and compulsory

process were violated when this court refused to allow certain

witnesses to testify and the government refused to grant immunity

to certain witnesses.         Pickard asserts that these rulings must be

revisited   because     the    government     suppressed        certain   relevant

evidence concerning these witnesses.

     Once again, this is another issue that was raised and decided

on direct appeal.       The Tenth Circuit thoroughly addressed each of

the matters noted by Pickard in the instant § 2255 motion.                        See

Apperson, 441 F.3d at 1201-04.            Pickard has failed to offer any

evidence    in    support     of   his   contention    that      the   government

suppressed materials relevant to these issues.                   Accordingly, we

must once again conclude that this claim is barred from review.

Alteration of Exhibits

     Pickard argues that his due process rights were violated when

the government altered an exhibit produced at trial.                       Pickard

points specifically to Exhibit No. 196, a computer printout of his

laptop computer address book. Pickard suggests that the government

“knew or should have known [the DEA agent’s] testimony regarding

missing DEA contacts was false.”               He further asserts he can

demonstrate      that   the   file   alteration     was   a     “protracted       and

purposeful effort.”      Pickard requests discovery because “the issue

of misconduct becomes heightened when placed in the context of

broad government suppression of other records discussed [in his


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Brady/Giglio claims].

     This is another issue that was extensively examined on direct

appeal.    See Apperson, 441 F.3d at 1207-08.         Pickard has failed to

articulate any intervening change of law or newly discovered

evidence.     He suggests that the government was aware of the

alteration, but he again fails to provide any evidence in support

of that contention.         He has also failed to show good cause for

discovery on this issue.          Finally, the comments of the Tenth

Circuit on direct appeal are equally applicable here: “[Defendants

do not] assert, let alone offer any explanation of how, this

incident would have adversely impacted the jury’s decision-making.”

Id. at 1208.    In sum, the court must conclude that it is barred

from review of this claim.        To the extent that Pickard raises any

issue that was not raised and addressed on direct appeal, the court

finds that it lacks merit.

Insufficient Evidence

     The    defendants   contend,    based   upon    the      newly   discovered

evidence, that the evidence in support of their convictions was

insufficient.     The newly discovered evidence consists of (1)

evidence that Skinner was manufacturing LSD; and (2) the “plethora

of suppressed records” that impeach Skinner’s credibility.

     To justify a new trial based on newly discovered evidence,

“the alleged newly discovered evidence [must] be (1) more than

impeaching or cumulative, (2) material to the issues involved, (3)


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such that it would probably produce an acquittal, and (4) such that

it could not have been discovered with reasonable diligence and

produced at trial.” United States v. Trujillo, 136 F.3d 1388, 1394

(10th Cir.), cert. denied, 525 U.S. 833 (1998).

     As this court and the Tenth Circuit have stated repeatedly in

this case, the evidence in support of the defendants’ conviction

was overwhelming.     The “newly discovered evidence” noted by the

defendants would not “probably produce an acquittal.”               The fact

that Skinner was manufacturing LSD at some point either during the

trial of this case or thereafter does not mean that the defendants

were not involved in the charges of this case. As succinctly noted

by the government in their response to the defendants’ 2255 motion:

“[T]he evidence of [the defendants’] joint possession of the lab,

ET and LSD on November 6, 2000, along with their attempts to flee

arrest, with nothing more, are (sic) enough to convict them of

these charges.”     Moreover, as noted in the discussion on the

defendants’ Brady/Gilgio claim, the “newly discovered evidence” of

impeachment   matters   concerning    Skinner’s     credibility     is      also

insufficient to produce an acquittal of the defendants.            The court

has noted that these matters, in light of the substantial evidence

that demonstrated Skinner’s credibility was questionable, are

simply not material here.     In sum, the court finds no merit to this

argument.

Sentencing Issues


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                                          A.

     Pickard contends, based upon a recent Supreme Court decision,

that his sentence was illegal.                   Pickard suggests the Supreme

Court’s   decision       in    Lopez    v.   Gonzales,        549    U.S.    47   (2006)

precludes the use of his 1978 California conviction for attempted

manufacture of MDA as an underlying offense for mandatory minimum

purposes.       He argues that Lopez excludes the 1978 conviction

because   (1)    there    is    no     federal    parallel      in   the     Controlled

Substances Act(CSA) for “attempt” to manufacture; and (2) he was

not convicted by trial of this offense but pled nolo contendere.

     Pickard has not elaborated on either of these arguments.                         He

has not pointed the court to any language in Lopez or any other

case that supports either argument.                The court fails to find any

support for them.

     In Lopez, the Supreme Court held that state drug felonies

classified      as   misdemeanors       under    the    CSA    do    not    qualify   as

aggravated felonies under the portion of the Immigration and

Nationality Act(INA) that requires deportation of any alien who has

been convicted of an aggravated felony.                  Lopez, 549 U.S. at 60.

The decision in Lopez has no application here.                              Pickard was

sentenced under the CSA, not the INA.                  The CSA contains discrete

definitions that differ from the language of the INA.                             These

differences render Lopez inapplicable here.                   See United States v.

Winningham, 2007 WL 1308673 at *2 (N.D.Fla. 2007) (Lopez was


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inapplicable to the language “prior conviction for a felony drug

offense” in 21 U.S.C. § 841(b)(1)(A) because “felony drug offense”

was   defined   in   21   U.S.C.      §    802(44)     as   “an     offense   that   is

punishable by imprisonment for more than one year under any law of

the United States or of a State”); Lampton v. Menifee, 2007 WL

2710798 at *4 (W.D.La. 2007) (“Further, since the resolution of

petitioner's predicament does not turn on an interpretation of the

‘aggravated felony’ provisions of the INA, the holding of Lopez,

supra, does not apply.”); Maxwell v. Warden, 2007 WL 546366 at *3

(N.D.Ohio 2007) (Lopez did not apply to CSA crimes outside of the

INA context).

      The court also finds no support in Lopez or elsewhere for the

proposition that his 1978 nolo contendere plea in California cannot

be considered a prior conviction for sentence enhancement purposes

under 21 U.S.C. § 841.        See United States v. Mejias, 47 F.3d 401,

404   (11th   Cir.   1995)    (plea       of    nolo   contendere     constitutes    a

conviction for purposes of § 841); see also United States v.

Wright, 238 F.3d 418, 2000 WL 1846340 at *5 (4th Cir. 2000) (same).

                                           B.

      Pickard next argues that a recent decision of the Ninth

Circuit, United States v. Nguyen, 465 F.3d 1128 (9th Cir. 2006),

demonstrates that his 1978 nolo contendere plea in California

cannot be considered a prior conviction for sentence enhancement

purposes under 21 U.S.C. § 841.                 This argument borders on being


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frivolous.

       In Nyugen, the government sought to prove the defendant’s

commission of one or more crimes by admitting the convictions from

proceedings in which he had pleaded nolo contendere.                    Nguyen, 465

F.3d    at   1130.      The    Ninth   Circuit     held    that     Fed.R.Evid.     410

prohibited the government from admitting the convictions just as it

barred the admission of the pleas themselves.                 Id. at 1131.      Here,

the government did not present Pickard’s nolo contendere plea at

trial to prove his commission of a prior criminal offense. Rather,

the court used the plea in determining Pickard’s sentence under 21

U.S.C. § 841.        The use of the prior conviction in this fashion did

not    violate   the    Federal    Rules      of   Evidence     and   was   entirely

consistent with the definition of a prior conviction under § 841.

Accordingly, we find no merit to this contention.

                                         C.

       Pickard contends that his sentence should be vacated based

upon recent amendments to the United States Sentencing Guidelines.

He argues that the recent amendments to guidelines reducing the

offense levels for crack cocaine should be applied here because the

amendments were made in part based upon racial disparity.                           He

asserts that an “even higher percentage of Caucasians are sentenced

for LSD than are Blacks for crack cocaine.”

       This convoluted argument is clearly without merit for a number

of reasons, but primarily because the defendant was not sentenced


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under the guidelines.        Rather, as pointed out to him by this court

and the Tenth Circuit, he was sentenced under the mandatory minimum

provisions   of   21    U.S.C.    §   841(b)(1)(A).           Accordingly,      any

amendments to the guidelines have no impact on Pickard’s sentence.

                                      D.

     Finally, Pickard contends that the court’s sentence is illegal

because the court failed to consider the suppressed Brady/Giglio

material in determining the appropriate sentence under 18 U.S.C. §

3553(a). Once again, this argument merits little consideration for

several reasons, but foremost is the fact that the defendant was

not sentenced under the guidelines.            As stated previously, the

court   sentenced      the   defendant     under   the   mandatory       minimum

provisions of 21 U.S.C. § 841(b)(1)(A), not the sentencing factors

set forth in 18 U.S.C. § 3553(a).            Accordingly, the court also

finds no merit to this argument.

Severance

     Apperson contends that his Fifth and Sixth Amendment rights

under the Constitution were violated when this court denied his

motion for severance.        The defendant raises essentially the same

arguments that were raised at trial.

     This issue was thoroughly considered at trial and on appeal.

See Apperson, 441 F.3d at 1190-91.            The court finds that it is

barred from review of this claim. To the extent that the defendant

raises anything new, the court finds no merit in any of these


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issues.

Sentencing Issues

     Apperson contends that the court erred in enhancing his

sentence under U.S.S.G. § 3B1.1(c) and denying his request for a

role reduction under U.S.S.G. § 3B1.2(b). This claim is apparently

premised on the contention that the alleged suppressed Brady/Giglio

information would have made a difference to the jury and the court.

     The court finds no merit to this argument.                Apperson has

failed to explain how the aforementioned Brady/Giglio information

would have impacted the sentencing issues in this case.                      The

evidence in support of the court’s decision on the enhancement of

Apperson’s sentence was “amply supported” by the evidence at trial.

See Apperson, 441 F.3d at 1211.          The court does not believe that

the Brady/Giglio matters, even if they were suppressed by the

government, would have changed Apperson’s sentence.             Accordingly,

this claim shall also be rejected.

MOTION FOR DISCOVERY

     In this motion, defendants seek discovery in support of their

motions to vacate, set aside or correct sentence pursuant to 28

U.S.C. § 2255.    The defendants seek various materials to support

their claims that the government (1) violated its Brady/Giglio

obligations by suppressing the criminal and informant backgrounds

of witness Gordon Todd Skinner as well as other witnesses; and (2)

engaged   in   prosecutorial    misconduct     by   failing     to   disclose


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exculpatory evidence. The defendants claim that they have produced

facts showing the following:

      1) The government suppressed material evidence from 1984-
      2003 on Skinner and other government witnesses in the
      instant case and - with regard to Skinner - in other
      suppressed trials;

      2) The government’s narratives in the instant case and
      other suppressed trials demonstrate a pattern and
      practice of knowingly complying with Skinner’s continuing
      criminal activity while an informant, and permitting
      Skinner’s perjury and that of government agents at
      trials.

      Based    upon    that   alleged     factual      record,    the    defendants

essentially     seek   the    following      concerning    Skinner:           (1)   DEA

Narcotics and Dangerous Drugs Information System (NADDIS) index or

display record; (2) access or inquiry logs for NADDIS through the

present date; (3) corresponding indices from FBI, Customs and IRS;

(4)   access   logs    from   FBI,   Customs     and    IRS;     (5)    the    indices

associated reports and records during the period of involvement in

the events described in this claim; and (6) confidential informant

records as well as records showing a source of information,

cooperating witness or other relationship to a federal agency

during the events in this claim.              They also seek the following

information concerning the witnesses Alfred Savinelli and Gunnar

Guinan:    past criminal and investigative histories.                  Finally, they

have produced several pages of interrogatories and requests for

admission.

      The government has responded that the defendants:                       (1) have


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not demonstrated that the evidence sought is material because it

would     constitute   cumulative   impeachment,       not     substantially

impeaching material; and (2) have not made a prima facie showing of

a right to discovery under Rule 6(a) of the Rules Governing Section

2255 Proceedings for the United States District Courts.                      The

government further argues that the matters concerning Skinner are

not admissible under Fed.R.Evid. 608, 609 and 403.

        A habeas petitioner, unlike the usual civil litigant in

federal court, is not entitled to discovery as a matter of ordinary

course. Bracy v. Gramley, 520 U.S. 899, 904 (1997). The rules

governing proceedings under 28 U.S.C. § 2255 provide that “[a]

judge may, for good cause, authorize a party to conduct discovery

under the Federal Rules of Criminal Procedure or Civil Procedure,

or in accordance with the practices and principles of law.”                  Rule

6(a) of the Rules Governing Section 2255 Proceedings for the U.S.

Dist. Cts.      In order to show “good cause” under Rule 6(a), a

petitioner must provide the court with “specific allegations [that]

show reason to believe that the petitioner may, if the facts are

fully developed, be able to demonstrate that he is . . . entitled

to relief.”     Bracy, 520 U.S. at 908-909. “Mere speculation that

some exculpatory material may have been withheld is unlikely to

establish good cause for a discovery request on collateral review.”

Strickler, 527 U.S. at 286.

        Having considered all of the materials provided to the court,


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the court is not persuaded that the defendants have demonstrated

that they are entitled to the discovery they have sought.                              The

court does not believe that the defendants have shown good cause

for    the    discovery       of     these        materials,    in    light    of      the

aforementioned discussion on their Brady/Giglio claim. Petitioners

have not shown that, if the facts are fully developed on their

claims, they may be able to demonstrate they are entitled to

relief.      They, therefore, have not shown good cause for discovery.

See Bracy, 520 U.S. at 908-09; Wallace v. Ward, 191 F.3d 1235, 1245

(10th Cir. 1999), cert. denied, 530 U.S. 1216 (2000).                    Accordingly,

this motion is denied.

MOTION FOR PRODUCTION OF OCDETF PROPOSAL

      In connection with their Brady/Giglio claim, defendants seek

an order requiring the government to produce the Organized Crime

Drug Enforcement Task Force(OCDETF) proposal for this case for in

camera inspection.        They further seek an order requiring the

government to identify the agencies other than the DEA that

participated in this OCDETF investigation.                  They contend they need

this information in order to pursue their § 2255 motions.

      As noted in the aforementioned discussion, the court continues

to believe that the DEA was the agency responsible for handling

this case.      The DEA investigated this case from the outset.                       Karl

Nichols, a special agent with the DEA, interviewed Skinner after

his contacts with the Department of Justice and continued to head


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the investigation from that point to the conclusion of the case.

He served as the case agent at trial.               A “risk assessment” of

Skinner was prepared by the DEA.              Prior to trial, the court

reviewed in camera the confidential informant file of Skinner

possessed by the DEA.       The testimony provided at trial failed to

demonstrate any significant involvement by the FBI or any other

agency in the investigation of this case.               The defendants have

failed to point to any evidence showing any involvement by other

agencies   in   the   investigation      of   this    case.       Under    these

circumstances, the court sees no reason to examine the OCDETF

proposal in this case, even if one exists.                 Accordingly, this

motion shall be denied.

MOTION FOR ENLARGEMENT OF TIME/DELAY RULING TO CONDUCT DISCOVERY

     The defendants seek an enlargement of time and a delay in the

court’s ruling on their motion for leave to conduct discovery.

They seek this extension so they can obtain the FBI’s response to

their pending Freedom of Information Act requests.

     For the reasons stated previously, the court finds no reason

to delay a ruling on the pending motions.            The court has not been

persuaded that any materials from the FBI will have an impact on

the defendants’ motion for discovery or their § 2255 motions.

Moreover, the government, in an effort to address this issue, has

voluntarily produced the FBI file for in camera review by the

court.   The court believes that the government produced all of the


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Brady/Giglio materials that the DEA and FBI possessed concerning

Skinner.   To the extent that any materials were overlooked, the

court does not believe that these materials could reasonably be

taken to put the whole case in such a different light as to

undermine confidence in the verdict.          Accordingly, this motion

shall be denied.

MOTION TO AMEND/CORRECT RECORD

     The defendants, relying upon Banks v. Dretke, 540 U.S. 668

(2004), seek an order requiring the government to amend and/or

correct the record in this case. The defendants suggest that Banks

requires the government to “set the record straight” concerning

Skinner’s criminal and informant activities.           The defendants ask

the court to order the government to produce the suppressed

documents and thus correct the record relating to the “contents of

the Court’s sealed files.”

     In Banks, the defendant was convicted of capital murder.               He

eventually sought relief under 28 U.S.C. § 2254.                 During the

federal habeas corpus proceeding, discovery revealed that the state

prosecutor had withheld evidence that would have allowed the

defendant to discredit two essential prosecution witnesses. Banks,

540 U.S. at 675.   The prosecution had not disclosed that one of the

witnesses (1) was a paid police informant; and (2) had testified

untruthfully concerning when he provided statements to the police.

The prosecution also had not disclosed that it had “intensively


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coached” another witness.     The prosecution allowed this witness to

testify untruthfully that his testimony was entirely unrehearsed.

The Supreme Court found that the actions of the prosecution

violated Brady.     Id. at 703.     The Court, after considering the

evidence in the case, determined that there was a reasonable

probability of a different result had the suppressed information

been disclosed to the defense.      Id.    In reaching this conclusion,

the Court stated:   “When police or prosecutors conceal significant

exculpatory or impeaching material in the State’s possession, it is

ordinarily incumbent on the State to set the record straight.” Id.

at 675-76.     The Court further commented:            “A rule declaring

‘prosecutor may hide, defendant must seek,’ is not tenable in a

system constitutionally bound to accord defendants due process.”

Id. at 696.

     The court is not persuaded that Banks requires any action by

the government in this case for a variety of reasons.            First, the

defendants have failed to point to any untruthful information that

was offered by the government during the trial.                 Second, the

defendants have failed to show that the government suppressed

information that it was aware of prior to trial, at trial or after

trial.   The defendants have pointed to various criminal activities

and informant activities involving Skinner, but the defendants have

failed to show that any of this information was in the hands of the

DEA or the prosecutor. The defendants have noted that most of this


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information involved associations between Skinner and the FBI,

which   the   court   has   determined        that      the   government     was    not

responsible to provide to the defendants.                 In addition, this case

is readily distinguishable from the circumstances in Banks. There,

the testimony of the informants was critical to the defendant’s

conviction.     The prosecution had no evidence to corroborate the

testimony of these witnesses.                Here, however, the government

presented     considerable      testimony          to    corroborate       Skinner’s

testimony.      As    noted    below,        the    defendants      simply    cannot

demonstrate that the alleged suppressed impeachment evidence noted

by the defendants is sufficient to show a reasonable probability of

a different result.     Accordingly, this motion shall be denied.

MOTION REGARDING UNCONTESTED MOTIONS

     The defendants contend that the court should decide the

following motions because the government has not timely responded

to them:      (1) to amend/correct record in accord with Banks v.

Dretke; (2) for enlargement of time and delay; and (3) to produce

OCDETF Proposals.       The government initially responds that the

motions, including the motion regarding uncontested motions, should

be denied because the court has not decided defendants’ motion for

leave to conduct discovery.

     The court agrees with the government.                     The court did not

address the motions or require a response from the government

because of the pending motion for leave to conduct discovery.


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Given the court’s determination of the motion for leave to conduct

discovery, as well as these other motions, the court shall deny

this motion as moot.

     IT IS THEREFORE ORDERED that defendant Pickard’s motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255

(Doc. # 554) be hereby denied.

     IT IS FURTHER ORDERED that defendant Apperson’s motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255

(Doc. # 555) be hereby denied.

     IT IS FURTHER ORDERED that defendants’ motion for leave to

conduct discovery (Doc. # 586) be hereby denied.

     IT IS FURTHER ORDERED that defendants’ motion to amend and

correct record (Doc. # 589) be hereby denied.

     IT IS FURTHER ORDERED that defendants’ motion for enlargement

of time to delay ruling to conduct discovery (Doc. # 594) be hereby

denied.

     IT IS FURTHER ORDERED that defendants’ motion to produce

OCDETF proposal (Doc. # 595) be hereby denied.

     IT IS FURTHER ORDERED that defendants’ motion for ruling on

uncontested motions (Doc. # 598) be hereby denied as moot.

     IT IS SO ORDERED.

     Dated this 6th day of April, 2009 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge

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